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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA

DEEP SOUTH TODAY, d/b/a VERITE
NEWS, GANNETT CO., INC., GRAY
LOCAL MEDIA, INC., NEXSTAR MEDIA,                   CIVIL ACTION
INC., SCRIPPS MEDIA INC., and TEGNA
INC.                                                NO. 3:24-cv-00623-JWD-SDJ

                 Plaintiffs,

       VERSUS

LIZ MURRILL, in her official capacity as
Attorney General of Louisiana, ROBERT P.
HODGES, in his official capacity as
Superintendent of the Louisiana State Police,
and HILLAR C. MOORE, III, in his official
capacity as District Attorney of East Baton
Rouge Parish,

                      Defendants.



                                                ORDER

       Considering Defendants’ Unopposed Motion to Increase Page Limits,



       IT IS ORDERED that the Motion is GRANTED. The page limit of Defendants’ Reply

In Support of Their Motion to Dismiss is hereby increased to fifteen (15) pages.



       Signed this 2nd day of December, 2024.

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                                                     UNITED STATES DISTRICT JUDGE
